3:21-cr-00278-MGL   Date Filed 05/21/21   Entry Number 3   Page 1 of 7




                                                    3:21-278
3:21-cr-00278-MGL   Date Filed 05/21/21   Entry Number 3   Page 2 of 7
3:21-cr-00278-MGL   Date Filed 05/21/21   Entry Number 3   Page 3 of 7
3:21-cr-00278-MGL   Date Filed 05/21/21   Entry Number 3   Page 4 of 7
3:21-cr-00278-MGL   Date Filed 05/21/21   Entry Number 3   Page 5 of 7
3:21-cr-00278-MGL   Date Filed 05/21/21   Entry Number 3   Page 6 of 7
3:21-cr-00278-MGL   Date Filed 05/21/21   Entry Number 3   Page 7 of 7
